          Case 2:21-cv-00310-JS Document 14 Filed 07/09/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THE MIDDLE EAST FORUM                        :      CIVIL ACTION NO. 21-CV-00310 (JS)
                                             :
                              Plaintiff,     :
               v.                            :
                                             :
LISA REYNOLDS-BARBOUNIS                      :
                                             :
                              Defendant.     :

           NOTICE OF VOLUNTARY DISMISSAL OF ACTION PURSUANT
             TO FED.R.CIV.P. 41(a)(1)(A)(i) and FED.R.CIV.P. 41(a)(1)(B)

TO THE CLERK OF THE COURT:

       With no answer or motion for summary judgment having been filed by Defendant, Lisa

Reynolds-Barbounis, in the above-referenced action, Plaintiff, The Middle East Forum, by and

through its undersigned counsel, hereby voluntarily dismisses this action without prejudice

pursuant to Rules 41(a)(1)(A)(i) and 41(a)(1)(B) of the Federal Rules of Civil Procedure.

                                                 Sidney L. Gold & Associates, P.C.

                                                 /s/ Sidney L. Gold
                                                 Sidney L. Gold, Esq.
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                                                 SGold@DiscrimLaw.net

                                                 Sidkoff, Pincus & Green, P.C.

                                                 /s/ Robert A. Davitch
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                                                 Attorneys for Plaintiff, The Middle East Forum
Date: July 9, 2021
           Case 2:21-cv-00310-JS Document 14 Filed 07/09/21 Page 2 of 2




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THE MIDDLE EAST FORUM                          :       CIVIL ACTION NO. 21-CV-00310 (JS)
                                               :
                               Plaintiff,      :
                v.                             :
                                               :
LISA REYNOLDS-BARBOUNIS                        :
                                               :
                               Defendant.      :

                                   CERTIFICATE OF SERVICE

        I, Sidney L. Gold, Esq., hereby certify that the within Notice of Voluntary Dismissal of Action

Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i) and Fed.R.Civ.P. 41(a)(1) (B) has been served via electronic

service of the Court, and is available for viewing and downloading on the Court’s ECF system, upon the

following counsel of record:

                                       Seth D. Carson, Esq.
                                  Derek Smith Law Group, PLLC
                                  1835 Market Street, Suite 2950
                                     Philadelphia, PA 19103
                                   Seth@DerekSmithLaw.com




                                                       /s/ Sidney L. Gold
                                                       Sidney L. Gold, Esq.
                                                       Attorney for Plaintiff

Date: July 9, 2021
